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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- X
                                                                       :
UNITED STATES OF AMERICA                                               :
                                                                       :
                  -v-                                                  :   20-CR-195 (JMF)
                                                                       :
ANTONIO RODRIGUEZ,                                                     :       ORDER
                                                                       :
                                    Defendant.                         :
                                                                       :
---------------------------------------------------------------------- X


JESSE M. FURMAN, United States District Judge:

        The proceeding in this matter scheduled for December 1, 2021, is hereby changed from 4:00

p.m. to 3:00 p.m. Unless and until the Court orders otherwise, the proceeding will be held in

person in Courtroom 1105 of the Thurgood Marshall United States Courthouse, 40 Centre

Street, New York, New York.

        If any counsel believes that the proceeding should be adjourned or held remotely (or that the

Defendant(s) should be permitted to appear remotely or not appear at all), counsel should confer with

one another and, no later than two business days from today, submit a letter motion to that effect.

Any such motion shall also include the following information:

    (1) Confirmation that the Defendant(s) consent(s) to appear remotely (or to waive his/her
        appearance altogether, as the case may be);

    (2) A brief statement of whether the Constitution, the Federal Rules, and the CARES Act permit
        the proceeding to be conducted remotely (or in the absence of the Defendant(s)), including, if
        the proceeding is a felony guilty plea or a sentencing, why the proceeding “cannot be
        further delayed without serious harm to the interests of justice,” CARES Act, §
        15002(b)(2), Pub. L. No. 116-136, Mar. 27, 2020, 134 Stat 281;

    (3) If the Defendant is detained, the facility in which the Defendant is held and his or her USMS
        No. (Counsel is advised that some facilities may require that any inmate appearing in court be
        quarantined for 14 days upon returning from their appearance.)

    (4) If the Defendant is not detained, whether the Defendant would be capable of participating in a
        remote proceeding, either or both by video or telephone.
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   (5) Dates and times during the week of the currently scheduled proceeding that all counsel would
       be available for a proceeding in case it needs to be rescheduled.

      SO ORDERED.

Dated: November 15, 2021                        __________________________________
       New York, New York                                JESSE M. FURMAN
                                                       United States District Judge




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